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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS



 Intercurrency Software LLC
                                                       2:24-cv-00218
v.                                           Civil No. ______________________

 iFinex, Inc.



                                CLERK’S ENTRY OF DEFAULT


         On this ________ day of __________________, 20 _____, it appearing from the affidavit(s)

                         Christopher A. Honea
in support of default of ____________________________, attorney for plaintiff, that each of the

defendants named below has failed to plead or otherwise defend herein as provided by the Federal

Rules of Civil Procedure;

         Now, therefore, the DEFAULT of each of the following named defendants is hereby entered:

          iFinex, Inc.




                                                     DAVID A. O'Toole, CLERK



                                                     By: _________________________
                                                         Deputy Clerk

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